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 7   GREGORY BELL
 8                                   UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                               Case No.: 21-mj-71435-MAG
12                      Plaintiff,
                                                             MEMORANDUM IN SUPPORT OF
13                                                           MOTION FOR PRE-TRIAL RELEASE ON
14   vs.                                                     BAIL
15   GREGORY LEWIS BELL, JR,
16                                                           DATE: October 7, 2021
                       Defendant
                                                             TIME: 10:30 AM
17                                                           Honorable Magistrate Judge Thomas Hixson
18
19          Defendant Gregory Lewis Bell Jr., through counsel, offers this memorandum in support
20   of his motion requesting that he be released on bail.
21
22                                     STATEMENT OF THE CASE
23          On May 6, 2019, Mr. Bell was allegedly involved in a shooting incident in San Francisco,
24   California. Upon a search of the vehicle in which Mr. Bell was a mere passenger, law
25   enforcement discovered weapons that were not in Mr. Bell’s possession. Although Mr. Bell was
26   arrested on that date, no charges were brought by state or federal law enforcement until 2021. On
27   September 24, 2021, the US Marshals executed a search and arrest warrant on Mr. Bell at 1256
28   Foothill Street, Redwood City, California. Mr. Bell was arrested on a Complaint charging Count
     One: 18 U.S.C. §922(g)(1): Felon in Possession of Firearms and Ammunition. Mr. Bell made his
     first appearance before the Honorable Magistrate Judge Sallie Kim on Monday, September 27,
     2021, where Assistant United States Attorney Evan Mateer advised the Court of his intention to


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 1   seek detention. Mr. Bell participated in a pre-bail interview with United States Pretrial Services
 2   Officer Carolyn Truong on Thursday, September 30, 2021. The report by Ms. Truong was
 3   completed on October 1, 2021 and Counsel for the Mr. Bell incorporates this report in this
 4   memorandum by reference. Mr. Bell now seeks pre-trial release on bail.
 5
 6                     FACTORS TO BE CONSIDERED UNDER 18 USC §1342(g)
 7          The Bail Reform Act, 18 U.S.C. § 3142, governs the release and detention of defendants
 8   awaiting trial. A court may detain a defendant pending trial only if the Government shows by a
 9   preponderance of the evidence that “no condition or combination of conditions will reasonably
10   assure the appearance of the person,” or by clear and convincing evidence that “no condition or
11   combination of conditions will reasonably assure . . . the safety of any other person and the
12   community.” 18 U.S.C. § 3142(e)(1). A finding that a defendant is a danger to the community
13   must be supported by clear and convincing evidence, 18 U.S.C. § 3142(f), and a finding that a
14   defendant is a flight risk must be supported by a preponderance of the evidence. United States v.
15   Motamedi, 767 F.2d 1403, 1406 (9th Cir. 1985).
16      When determining whether a defendant poses a flight risk or is a danger to the community,
17   the Court looks to the factors listed in 18 U.S.C. §1342(g). The following factors to be
18   considered are:
19      1. The nature and circumstances of the offense charged, including whether the offense is a
20          crime of violence or involves a narcotic drug; the weight of the evidence against the
21          person;
22
23      2. The history and characteristics of the person, including the person's character, physical
24          and mental condition, family ties, employment, financial resources, length of residence in
25          the community, community ties, past conduct, history relating to drug or alcohol abuse,
26          criminal history, and record concerning appearance at court proceedings; and whether, at
27          the time of the current offense or arrest, the person was on probation, on parole, or other
28          releases pending trial, sentencing, appeal, or completion of sentence for an offense under
            Federal, State, or local law; and




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 1       3. The nature and seriousness of the danger to any person or the community that the
 2           person's release would pose. 18 U.S.C. §1342(g).
 3
 4       Many of the considerations in this list are in favor of conditions of release that can be
 5   fashioned to support a Court’s order of release:
 6       1. The defendant was born and raised in San Francisco, California. Pretrial Services Report,
 7           page 1.
 8
 9       2. If released, the defendant has secured full-time employment as a Foreman with Clutch
10           Moving Company based in San Francisco, California. See Exhibit A.
11
12       3. Defense counsel is in possession of Mr. Bell’s United States passport.
13
14       4. The defendant has close community ties and a close relationship with his parents, family
15           members, and church. Pretrial Services Report, page 1-2.
16
17       5. The defendant is in good physical and mental condition. Id. at 4.
18
19       6. Regarding alcohol and drug abuse, the defendant was candid with Pretrial Office Truong
20           regarding his infrequent use of cannabis and could abstain from use if required as a
21           condition of his release. Id. at 4.
22
23       7. The defendant’s criminal activity spans many years, but Mr. Bell’s last felony conviction
24           was in 2014. His convictions are as follows: 1
25
26               a. 12/09/2005 (14 years old, juvenile): Convicted of False Identification to Specific
27                     Peace Officer (Wardship, Misdemeanor)
28




     1
      In Officer Truong’s Pre-Bail Report, she makes mention of a 2017 conviction. However, Alameda County
     Probation Office confirmed that there is no 2017 conviction for Mr. Bell.

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 1              b. 12/08/2006 (15 years old, juvenile): Convicted of Two Counts of Robbery:
 2                  Second Degree (Wardship)
 3
 4              c. 09/11/2013 (22 years old): Convicted of Receive Etc. Known Property (Felony)
 5
 6              d. 05/06/2014 (23 years old): Convicted of Burglary (Felony)
 7
 8              e. 01/16/2020 (29 years old): Convicted of Battery (Misdemeanor)
 9
10      Mr. Bell admittingly does have a criminal history beginning from when he was a juvenile.
11   However, Mr. Bell has not been convicted of felony since 2014. Additionally, Mr. Bell has no
12   history of probation, parole, or supervised release violations in the past five years. Id. at 9. The
13   Government’s concerns regarding the defendant’s criminal history can be addressed by the
14   conditions of release that purport to create a significant consequence not only to the defendant
15   but also his family if he violates any conditions of release. His mother, Lawanna Cage, works as
16   an aid for In Home Care Support Services and is willing to be a surety for Mr. Bell. His
17   grandmother, Gail Russel, is retired and willing to allow Mr. Bell to reside with her if he is
18   released on bail. Additional conditions of release, such as, an ankle bracelet with GPS tracking
19   and/or curfew can be imposed by the Court to ensure Mr. Bell’s future appearance.
20
21               THE WEIGHT OF THE EVIDENCE AGAINST THE DEFENDANT
22      The Court must consider the weight of the evidence against Bell, although this factor is
23   considered to be of least importance in the detention determination. United States v. Winsor, 785
24   F.2d 755, 757 (9th Cir. 1986) (citing United States v. Cardenas, 784 F.2d 937, 938 (9th Cir.
25   1986). Here, the weight of the evidence although troubling, does weigh in Mr. Bell’s favor.
26      On the night of the offense, on May 6, 2019, Mr. Bell was a passenger in a vehicle that was
27   involved in a shooting. Witnesses reported seeing an individual shooting a gun from the vehicle
28   from the backseat window of the driver’s side. Mr. Bell was found in the front passenger seat of
     the vehicle. When the vehicle was searched, weapons were found in a secret panel within the
     driver’s door. One of the weapons, a .45 caliber Glock 21, is purportedly associated to two other




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 1   shooting incidents: an incident on March 24, 2018 and January 16, 2019. 2 The Government
 2   attempts to use the presence of the weapon in the same vehicle as Mr. Bell as proof of
 3   participation in the other listed incidents; however, the support offered is speculative, at best.
 4   The weapon is not registered to Mr. Bell. The weapon was not in Mr. Bell’s direct possession or
 5   in a place easily accessible to Mr. Bell- it was hidden within a panel inside the driver’s seat door.
 6   Lastly, Mr. Bell was not arrested in either the March 24, 2018 or the January 16, 2019 incidents.
 7       During the execution of the search warrant on September 24, 2021, the Government is
 8   correct that an AR-15 style assault pistol was found inside a vehicle parked on the street outside
 9   of the residence. However, the Government’s belief that vehicle was under the control of Mr.
10   Bell is unsupported by any evidence or discovery provided this far. This vehicle was not
11   registered to Mr. Bell. The only vehicle purportedly connected to Mr. Bell is a 2012 Nissan
12   Altima worth $4,000. Pretrial Services Report, page 4.
13       The Government’s position is based on inuendo and multiple layers of inferences rather than
14   any credible evidence or scientifically trusted methodology. There is no definitive determination
15   that Mr. Bell was actively involved in these alleged incidents included in the Government’s
16   argument.
17
18                                                  CONCLUSION
19
20           For the foregoing reasons, Counsel respectfully requests that this Court release Mr. Bell
21   while he awaits trial.
22
23
24   Dated this 6th day of October 2021.
25
                                                                           James A. Bustamante
26
                                                                           Attorney for GREGORY BELL
27
28


     2
       There is no evidence or discovery making a conclusive determination that the ammunition connected to those two
     incidents are more than just “associated with” the Glock 21 discovered in the hidden compartment in a vehicle not
     owned or controlled by Mr. Bell. It should be noted that no charges have been brought and/or pending relating to
     those two incidents.

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 1                                        PROOF OF SERVICE
 2
     I, the undersigned say:
 3
     I am over 18 years of age and not a party of the above action. My business address is:
 4
 5                                  1000 Brannan Street, Suite 488
                                    San Francisco, California 94103
 6
 7   That on October 6, 2021, I served via email of the attached on the following parties:
 8
 9                                  Evan M. Mateer
                                    Special Assistant United States Attorney
10
                                    Northern District of California
11                                  Evan.Mateer@usdoj.gov
                                    Office: (415) 436-7181
12
13
14
     I declare under penalty of perjury that the foregoing is true and correct.
15
16
     Executed on October 6, 2021 at San Francisco, California.
17
18
19
20
21                                                                 JAMES A. BUSTAMANTE
22
23
24
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EXHIBIT A
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                              975 Linden Ave, South San Francisco, CA 94080, Tel: 650-535-2424




October 02, 2021



To whom it may concern,

        My name is Steven Mandac, President and founder of Clutch Moving Company.

        We have been in business since 2017 and have grown into one of the Top moving Companies in
the Bay Area. Gregory Lewis Bell will have work once he is free to report to work. I believe, he will be a
great addition to our team due to his positive attitude and integrity.



        Upon his release, Gregory Lewis Bell, will have a full time position as a Foreman at Clutch
Moving Company. For any questions or concerns please feel free to reach me at my direct number 650 -
425 - 0353 or my email steven@clutchmovingcompany.com



        Yours Truly,

        Steven Mandac
